Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 1 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 2 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 3 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 4 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 5 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 6 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 7 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 8 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document      Page 9 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 10 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 11 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 12 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 13 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 14 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 15 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 16 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 17 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 18 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 19 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 20 of 21
Case 22-56997-bem   Doc 12    Filed 09/21/22 Entered 09/21/22 18:25:58   Desc Main
                             Document     Page 21 of 21
